

Filed: January 25, 2002


IN THE SUPREME COURT OF THE STATE OF OREGON


STATE OF OREGON,


Respondent on Review,


	v.


JOHN L. DOLAN,


Petitioner on Review.



(CC CR95-51184; CA A100590; SC S48782)



	En Banc


	On petition for review filed August 21, 2001.


	Robin A. Jones, Senior Deputy Public Defender, Salem, filed
the petition for petitioner on review.  With her on the petition
was David E. Groom, Public Defender for Oregon.


	No appearance contra.


	MEMORANDUM OPINION


	The petition for review is allowed.  The decision of the
Court of Appeals is vacated.  The case is remanded to the Court
of Appeals for further consideration in light of State v. Fugate,
332 Or 195, 26 P3d 802 (2001).


	*Appeal from Polk County Circuit Court, William M. Horner, Judge. 158 Or App 139, 973 P2d 370 (1999).  




